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                                            October 16, 2018


Judge Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140



Re:            Rosendo Ferran
Creditor:      Bank of America, N.A.
Case:          17-23424




Dear Judge Louis A. Scarcella,


Our office represents Bank of America in this matter. The Order directing Loss Mitigation was entered
on February 6, 2018. On May 18, 2018, our Firm filed the Creditor affidavit.

The most recent status hearing was held July 25, 2018. The parties have since met and conferred, and
Debtor is going to sell the Pennsylvania Property within 6 months. Our client is agreeable to this time
frame to sell the Pennsylvania Property, and have agreed to take a lower payoff when the property is
sold. Debtor’s counsel recently advised that her client is fixing up the Subject Property due to recent
storms, and they anticipate it going on the market soon.

       Thank you for your time and consideration.

                                                  Respectfully,

                                                  /s/ Jenelle C. Arnold
                                                  Jenelle C. Arnold, Esq.
